
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________



          No. 95-1679



                                    WARREN HENRY,

                                     Petitioner,

                                          v.

                       IMMIGRATION AND NATURALIZATION SERVICE,

                                     Respondent.

                              __________________________

                          PETITION FOR REVIEW OF AN ORDER OF

                           THE BOARD OF IMMIGRATION APPEALS

                              __________________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                              and Selya, Circuit Judge.
                                         _____________

                              _________________________

               Stanley H. Wallenstein for petitioner.
               ______________________
               Kristen  A.  Giuffreda,  Office of  Immigration  Litigation,
               ______________________
          United States Department  of Justice, with whom Frank  W. Hunger,
                                                          ________________
          Assistant  Attorney  General,  and   Ellen  Sue  Shapiro,  Senior
                                               ___________________
          Litigation Counsel, were on brief, for respondent.

                              _________________________

                                   January 16, 1996

                              _________________________


















                    SELYA,  Circuit Judge.   Invoking  8 U.S.C.    1105a(a)
                    SELYA,  Circuit Judge.
                            _____________

          (1994), petitioner Warren Henry seeks judicial review of an order

          of  the Board  of  Immigration Appeals  (the  Board) denying  his

          request for  adjustment of status and  directing his deportation.

          We dismiss the petition.

                                          I
                                          I

                    Petitioner,  a  24-year-old   Jamaican  national,   has

          resided in  the United States since  late 1984.  His  parents and

          four siblings live  here.1  Petitioner completed  high school and

          one year of  college.  He  wed a United  States citizen, but  the

          marriage did not last.  He  has a son by another woman.   His son

          lives  in  the  United States,  but  not  with  petitioner    and

          petitioner  does  not   support  the  boy  on  a  regular  basis.

          Petitioner's  overall  work  record  is  spotty.    He  currently

          operates a hair-styling salon in Springfield, Massachusetts.

                    Petitioner  is no stranger to the legal system.  In May

          of 1991,  New  York authorities  charged  him with  assault  with

          intent to  cause serious harm,  criminal possession of  a weapon,

          and menacing.  About three weeks thereafter, the police  arrested

          him  for jumping  the  turnstiles on  the  New York  City  subway

          system.  Initially,  he failed to respond to these charges.  When

          he appeared two years later   doubtless prompted by his desire to

          avoid looming deportation   the court reduced the charges arising

          out of the first  incident to a single  count of simple  assault.
                              
          ____________________

               1His  parents, a  brother,  and a  sister are  United States
          citizens.  His other two siblings have permanent resident status.
          Some relatives still live in Jamaica.

                                          2














          Petitioner pled guilty  both to  this reduced charge  and to  the

          turnstile-jumping  charge.     The   court  imposed   a  one-year

          conditional  discharge in  respect to  the former  and a  fine in

          respect to the latter.

                    Another  brush with the law proved to be a catalyst for

          deportation proceedings.  On October 13, 1991, Springfield police

          officers found  petitioner (who was carrying false identification

          papers) in possession of  an unlicensed handgun.  He  pled guilty

          to a  weapons-possession charge  on January  13, 1992,  using his

          pseudonym ("Richard  Dave Gordon"),  and spent several  months in

          jail.   On February 4,  1992, the Immigration  and Naturalization

          Service (INS) instituted deportation proceedings.

                    During  the pendency of the proceedings, petitioner had

          another  close  encounter with  the law.    On December  2, 1992,

          Springfield  authorities charged  him  with  assaulting a  police

          officer.    The facts  surrounding  that incident  are  less than

          pellucid.   The  police officer's  arrest  report states  that he

          restrained petitioner after petitioner made a threatening gesture

          in  response to  an inquiry,  and that  petitioner then  hit him.

          Petitioner categorically  denies this  account, and says  that he

          neither  threatened nor  struck  the officer.    On the  date  of

          petitioner's deportation  hearing, the  assault charge  was still

          pending,  and  the  record   reveals  no  definitive  disposition

          (although,  at  oral  argument  before us,  petitioner's  counsel

          represented that the charge is now by the boards).

                                          II
                                          II


                                          3














                    At this juncture, we temporarily shift our focus to the

          statutory scheme.  Petitioner's conviction on the firearms charge

          rendered him deportable under section 241 of the  Immigration and

          Nationality  Act (INA),  8 U.S.C.    1251.2   Confronted  by this

          statute, petitioner attempted to confess and avoid:   he conceded

          deportability,  but sought  an adjustment  of status under  INA  

          245(a),  8 U.S.C.   1255(a).3  This course was theoretically open

          because, under the immigration  laws, the grounds for deportation

          are  not congruent  with those  for exclusion  of aliens.   Thus,

          petitioner's firearms conviction rendered him deportable, but not

          per se excludable.   Compare 8 U.S.C.   1251(a)(2)(C) with  id.  
                               _______                          ____  ___

          1182(a) (listing grounds for exclusion).

                    Generally  speaking, resident aliens who are subject to

                              
          ____________________

               2The statute provides in pertinent part:

                         Any alien who at any time after entry is
                    convicted  under  any   law  of   purchasing,
                    selling,   offering  for   sale,  exchanging,
                    using, owning,  possessing, or carrying . . .
                    any weapon,  part,  or accessory  which is  a
                    firearm  or  destructive  device  .  .  .  in
                    violation of any law is deportable.

          8 U.S.C.   1251(a)(2)(C) (1994).

               3The statute provides in pertinent part:

                         The status of an alien who was inspected
                    and  admitted  or  paroled  into  the  United
                    States  may  be  adjusted  by   the  Attorney
                    General,  in  his discretion  and  under such
                    regulations as he  may prescribe, to that  of
                    an  alien  lawfully  admitted  for  permanent
                    residence  [subject   to  certain  enumerated
                    conditions not relevant here].

          8 U.S.C.   1255(a) (1994).

                                          4














          exclusion upon leaving and attempting to reenter the country  may

          apply for waivers of inadmissibility under INA   212(c), 8 U.S.C.

             1182(c).4   Section  212(c) waivers  are equally  available to

          aliens  in  deportation proceedings  as  long as  the  ground for

          deportation is also a stated ground for exclusion.  See Campos v.
                                                              ___ ______

          INS, 961 F.2d 309, 313 (1st Cir. 1992).  But such waivers are not
          ___

          available to  aliens in  deportation proceedings when  the ground

          for deportation is  not also a stated ground for  exclusion.  See
                                                                        ___

          id. at 316.
          ___

                                         III
                                         III

                    Petitioner's case falls between these stools.   Lacking

          the  foundational  prerequisite  for  seeking  a  section  212(c)

          waiver, he opted to  use an application for adjustment  of status

          under  section 245(a)  as an  alternate vehicle.   See  Matter of
                                                             ___  _________

          Rainford,  Interim Dec.  No. 3191,  at 6 (BIA  1992) (authorizing
          ________

          status-adjustment applications  in such circumstances).   The INS

          acknowledges  that he is eligible to be considered for adjustment

          of status under section  245(a).  Whether he deserves  the relief

          is a different  story.  On that score, an  immigration judge (IJ)
                              
          ____________________

               4The statute provides in pertinent part:

                         Aliens  lawfully admitted  for permanent
                    residence  who  temporarily proceeded  abroad
                    voluntarily  and   not  under  an   order  of
                    deportation,  and  who  are  returning  to  a
                    lawful   unrelinquished  domicile   of  seven
                    consecutive  years, may  be  admitted in  the
                    discretion  of  the Attorney  General without
                    regard   to  [many   of   the   grounds   for
                    exclusion].

          8 U.S.C.   1182(c) (1994).

                                          5














          initially  considered and  denied  petitioner's  application  for

          adjustment  of  status.    He explained  that  a  section  245(a)

          adjustment  is a  discretionary  remedy; that  to receive  such a

          benefice  an  otherwise deportable  alien  must  show unusual  or

          outstanding  equities  sufficient  to  overbalance  the  negative

          factor(s) on  which the finding of deportability rests; and that,

          in   petitioner's   case,   the  equities   did   not  adequately

          preponderate in his favor.

                    Petitioner appealed.   See 8 C.F.R.    3.1(b)(2) (1995)
                                           ___

          (providing  for  administrative appeals  of  such  orders).   The

          Board,  exercising de novo review,  see Gouveia v.  INS, 980 F.2d
                                              ___ _______     ___

          814,   817  (1st  Cir.  1992),  denied  relief.    In  its  view,

          petitioner's  strong points, e.g., his  family ties to the United

          States, his protracted residence here, and his belated efforts at

          rehabilitation, did  not overcome  the discredit inherent  in his

          criminal record.

                                          IV
                                          IV

                    We do  not print  on  a pristine  page.   The  IJ  made

          extensive  findings  in  this  matter,  and  the  Board  issued a

          comprehensive decision  adopting many  of those findings.   After

          careful  perscrutation of the record, we discern no fatal flaw in

          the  Board's  rationale.     Thus,  we   uphold  the  denial   of

          petitioner's request for adjustment of status for essentially the

          reasons stated by the Board, adding relatively few comments.

                                          A.
                                          A.
                                          __

                    The  decision  to  grant  or deny  an  application  for


                                          6














          adjustment  of status  is  one  that  rests within  the  informed

          discretion  of the Attorney General, see 8 U.S.C.   1255(a), and,
                                               ___

          by delegation, within the informed discretion of the Board.  As a

          result, the  ambit of  judicial review is  tightly circumscribed.

          Courts are entitled to  probe the Board's discretionary decisions

          only  to the  extent  necessary to  ascertain  whether the  Board

          misread  the  law  or  otherwise  misused its  discretion.    See
                                                                        ___

          Martinez v. INS, 970 F.2d 973, 974 (1st Cir. 1992).
          ________    ___

                    To be sure, adjudicatory tribunals can exceed grants of

          discretion       even  ringing   grants  of   broad,  essentially

          standardless discretion   in  various ways.  We have  pointed out

          that courts can abuse discretion in any of three aspects, namely,

          by neglecting to consider a significant factor that appropriately

          bears  on the discretionary  decision, by  attaching weight  to a

          factor  that does not appropriately  bear on the  decision, or by

          assaying  all  the  proper  factors  and no  improper  ones,  but

          nonetheless  making a  clear judgmental  error in  weighing them.

          See, e.g.,  United States v. Roberts,  978 F.2d 17,  21 (1st Cir.
          ___  ____   _____________    _______

          1992); Independent Oil &amp; Chem. Workers of Quincy, Inc. v. Procter
                 _______________________________________________    _______

          &amp;  Gamble Mfg. Co.,  864 F.2d 927,  929 (1st Cir.  1988).  Like a
          __________________

          court, so, too, an  administrative adjudicative body charged with

          making  a discretionary decision can stray beyond the pale in any

          of these three ways.

                                          B.
                                          B.
                                          __

                    Petitioner asserts that the Board abused its discretion

          in all the respects that we have mentioned.  We deal briefly with


                                          7














          each facet of this trifurcated assertion.

                                          1.
                                          1.
                                          __

                    First  and foremost,  petitioner  asseverates that  the

          Board improperly failed  to consider all the factors favorable to

          him.   In particular, citing Matter of Marin,  16 I &amp; N Dec. 581,
                                       _______________

          584-85  (BIA 1978),  a section  212(c) waiver case,  he maintains

          that the Board  unnecessarily limited the  data it considered  in

          assessing the equities underpinning his request for adjustment of

          status.

                    In the  section 212(c) milieu, the  Board and reviewing

          courts  habitually  refer  to  a   stock  list  of  factors  that

          potentially  inform   the  equities  attendant   to  a   waiver.5

          Petitioner asks us  to transplant this list wholesale and mandate

          its use in connection  with status-adjustment applications  under

          section 245(a).  This importuning reaches too far: fairly viewed,

          it  solicits  the  overruling,  sub  silentio,  of  this  court's
                                          ___  ________

          decision in Campos.   There,  we held that  the Attorney  General
                      ______

          could rationally decide not to  make section 212(c) waiver relief
                              
          ____________________

               5These factors include:

                         (1)  family  ties   within  the   United
                    States; (2) residence of long duration in the
                    United  States; (3)  evidence of  hardship to
                    petitioner   or    petitioner's   family   if
                    deportation occurs; (4) service in the United
                    States Armed Forces; (5) a  steady employment
                    history;  (6)  the existence  of  property or
                    business ties in  this country; (7) community
                    service;  (8)  rehabilitation;  and  (9)  any
                    other evidence fairly indicating petitioner's
                    good character.

          Gouveia, 980 F.2d at 816 (citing Marin, 16 I &amp; N Dec. at 584-85).
          _______                          _____

                                          8














          available to aliens convicted  of firearms offenses that rendered

          them deportable  but not  automatically excludable.   See Campos,
                                                                ___ ______

          961 F.2d  at 316.  In so  holding, we made it  crystal clear that

          the  section 212(c) waiver provision,  8 U.S.C.   1182(c), "could

          not be utilized to  waive all grounds of deportability,  but only
          ___                       ___

          those grounds  of deportability having a  corresponding ground of

          excludability . . . ."  Id. at 313 (emphasis in original).
                                  ___

                    Petitioner  today tries  to bring  in through  the back

          door the same iteration that the Campos court barred at the front
                                           ______

          door.  His  core argument is that the Board abused its discretion

          by  not  applying  the  section  212(c)  waiver  criteria  to  an

          adjustment of status case.  Were we to accept this construct,  we

          would  effectively  require  INS  to afford  deportable  but  not

          necessarily  excludable aliens  (like petitioner)  relief exactly

          equivalent  to that available under  8 U.S.C.    1182(c).  But we

          expressly  declined to dictate such a result when we concluded in

          Campos  that  the law  did  not  make  waiver of  inadmissibility
          ______

          available to all deportable aliens.

                    We see  no reason to revisit  the matter.  When  all is

          said  and done,  waiver  of inadmissibility  is an  extraordinary

          discretionary remedy that Congress,  in enacting section  212(c),

          made available primarily to assist excludable aliens who had been

          long-term residents of  this country.   See Campos,  961 F.2d  at
                                                  ___ ______

          316.   Congress painstakingly  set the  limits  within which  the

          waiver  proviso is to  operate.  The  courts have  no roving writ

          that enables  them to  refashion the legislature's  handiwork and


                                          9














          stretch the statute to  cover all cases  in which a person  might

          suffer deportation as a result of his own crimes.6

                    In any event, the  argument that petitioner advances is

          largely academic in the  circumstances at hand.  Even  in section

          212(c)  waiver cases,  the Marin  factors are  only illustrative.
                                     _____

          They do not comprise an invariable checklist.  See Hazime v. INS,
                                                         ___ ______    ___

          17 F.3d 136, 140 (6th  Cir.) (explaining that the Board  need not

          address all the  Marin criteria in reaching its  decision), cert.
                           _____                                      _____

          denied,  115 S.  Ct. 331  (1994).   So  long as  the Board  gives
          ______

          adequate  consideration  to the  equities supporting  a favorable

          exercise  of discretion,  it  discharges its  duty under  section

          212(c).  See id.; see also Marin, 16 I &amp; N Dec. at 585.
                   ___ ___  ___ ____ _____

                    In  this instance,  the administrative record  makes it

          plain that  the  Board paid  satisfactory  heed to  the  relevant

          factors.   It explicitly noted petitioner's  length of residence,

          his family  ties, his tentative steps  toward rehabilitation, and

          the  conceivable  hardships (including  the  likely  loss of  his

          proprietary interest in a start-up business).  Petitioner offered

          no evidence  regarding military service  or community activities.

          Thus,  the Board  in effect  considered all  the pertinent  Marin
                                                                      _____

          factors  despite  the  absence  of  any  obligation  to   do  so.
                              
          ____________________

               6We note,  too, that  petitioner's construct not  only would
          overrun the limits applicable to section 212(c) waivers, but also
          would  serve  to  create   two  different  adjustment  of  status
          standards:     one  for   criminals  ineligible  for   waiver  of
          inadmissibility,  and another for  students, temporary employees,
          and the myriad of non-resident immigrants eligible for adjustment
          of status.   We think the Board's  decision to preserve the unity
          of its status-adjustment standard is eminently reasonable, and we
          discern no abuse of discretion here.

                                          10














          Petitioner has no valid ground for his Marin-based complaint.
                                                 _____

                                          2.
                                          2.
                                          __

                    Next,  petitioner  posits  that  the Board  pondered  a

          factor  that  should  have  been  excluded  from  the  decisional

          calculus:   his  1992 arrest  for allegedly  assaulting a  police

          officer.  He pegs this claim on Matter of  Arreguin, Interim Dec.
                                          ___________________

          No. 3247  (BIA 1995), a case  decided four days  before the Board

          decided  Henry's appeal, and  asserts that Arreguin  stands for a
                                                     ________

          black-letter rule proscribing consideration of arrest reports.

                    We  begin with basics.   The law recognizes  that in an

          agency  as large  as  the INS  different  officials may  not  act

          identically in every case.   This lack of complete  uniformity is

          unavoidable   after  all, administrators are not automatons   and

          does   not,  in   an   of  itself,   invalidate  agency   action.

          Nonetheless, agencies do not have carte blanche.  While a certain

          amount of asymmetry  is lawful,  see Davila-Bardales  v. INS,  27
                                           ___ _______________     ___

          F.3d 1,  5 (1st Cir. 1994);  Puerto Rican Cement Co.  v. EPA, 889
                                       _______________________     ___

          F.2d  292,  299  (1st Cir.  1989),  an  agency  may not  "adopt[]

          significantly inconsistent  policies that result  in the creation

          of   conflicting  lines  of  precedent  governing  the  identical

          situation."  Davila-Bardales, 27 F.3d at 5 (citation and internal
                       _______________

          quotation marks omitted).

                    Let  us be  perfectly clear:   the  precept counselling

          avoidance of inconsistent administrative policies does not freeze

          an agency's jurisprudence for  all time.  See, e.g.,  Congreso de
                                                    ___  ____   ___________

          Uniones Industriales de P.R.  v. NLRB, 966 F.2d 36,  39 (1st Cir.
          ____________________________     ____


                                          11














          1992);  Shaw's Supermarkets, Inc. v.  NLRB, 884 F.2d  34, 37 (1st
                  _________________________     ____

          Cir.  1989).     The  precept  demands,  however,   that  if  the

          "administrative agency decides  to depart significantly from  its

          own precedent, it  must confront the  issue squarely and  explain

          why the departure is reasonable."  Davila-Bardales, 27 F.3d at 4.
                                             _______________

          In other words, administrative agencies must apply the same basic

          rules to all  similarly situated supplicants.   An agency  cannot

          merely flit serendipitously from case to case, like a bee buzzing

          from flower to flower, making up the rules as it goes along.

                    It is against  this chiseled backdrop  that we turn  to

          Arreguin.  There, the  Board reversed an IJ's refusal to  grant a
          ________

          section  212(c) waiver to an  alien convicted of  playing a minor

          role in a marijuana  importing scheme.  In denying relief, the IJ

          considered  a  twelve-year-old  arrest record  on  charges (later

          dropped)  of smuggling  aliens  into  the  United  States.    See
                                                                        ___

          Arreguin,  supra,  at  8.     While  the  Board   sanctioned  the
          ________   _____

          admissibility of  the arrest  record into evidence,  it explained

          that, under  the circumstances,  it would  give the  record scant

          weight.  See id.  Petitioner maintains that Arreguin  establishes
                   ___ ___                            ________

          a black-letter  rule gainsaying reliance on  arrest records, and,

          thus,  that consistency  of  precedent requires  reversal of  the

          instant order.  We  demur:  the Board's decision in  Arreguin did
                                                               ________

          not require it ipso  facto to disregard altogether the  report of
                         ____  _____

          petitioner's 1992 arrest.

                    The   principal   problem  presented   by  petitioner's

          prohibitory proposition is Arreguin itself.  The case simply does
                                     ________


                                          12














          not  announce  the rigid  rule  that petitioner  ascribes  to it.

          There, the  Board approved the  IJ's admission of  a particularly

          vulnerable arrest  record into evidence,  and agreed that  it had

          some  probative value.  See  id.  The  difficulty was that, under
                                  ___  ___                            _____

          the  circumstances of the particular case, the IJ gave the record
          _________________________________________

          more weight  than it  deserved, and, concomitantly,  neglected to

          give  full  effect  to  many positive  elements  buttressing  the

          petitioner's case.  Properly read, Arreguin implicates matters of
                                             ________

          degree, explaining  the relative weight  that should be  given to

          arrest  records.   Nothing  in  the opinion  suggests  that, when

          facing a closer balance of equities, the Board might not properly

          decide  that a  record  of arrest  tips  the scales  against  the

          bestowal of discretionary relief.

                    Nor  does  Arreguin  represent an  alteration  of prior
                               ________

          precedent.  The  traditional rules  of evidence do  not apply  in

          immigration hearings, see,  e.g., Espinoza v.  INS, 45 F.3d  308,
                                ___   ____  ________     ___

          310  (9th Cir. 1995),  and arrest reports  historically have been

          admissible  in such proceedings,  see Paredes-Urrestarazu v. INS,
                                            ___ ___________________    ___

          36 F.3d  801, 813  (9th Cir.  1994) (holding  that the  Board may

          entertain  arrest  records  as  evidence).   Moreover,  while  an

          arrest, without more, is  simply an unproven charge, the  fact of

          the arrest, and its attendant circumstances, often have probative

          value  in immigration proceedings.   See, e.g., id.  at 810 ("The
                                               ___  ____  ___

          fact  of arrest, insofar as it bears  upon whether an alien might

          have engaged in underlying conduct and insofar as facts probative

          of an  alien's `bad  character or undesirability  as a  permanent


                                          13














          resident'  arise  from  the   arrest  itself,  plainly  can  have

          relevance" in  discretionary relief).  Arreguin  does not purport
                                                 ________

          to command  any deviation from  these venerable  practices or  to

          prohibit the  type of  recourse that  the Board historically  has

          made to arrest records.

                    In fine, the lesson of Arreguin is that, when the Board
                                           ________

          appraises the  considerations on both sides  of the discretionary

          balance to  determine  whether they  are  in equipoise,  it  will

          accord virtually no weight to an arrest record remote in time and

          unsupported by  corroborating evidence.  See  Arreguin, supra, at
                                                   ___  ________  _____

          8.  Here,  the Board adumbrated that  rather unremarkable lesson.

          It  considered the 1992 arrest  report in a  limited way, without

          giving  excessive  weight  to it.    It  was entitled  to  do so,

          Arreguin notwithstanding.7
          ________

                                          3.
                                          3.
                                          __

                    In  his most  broad-gauged foray,  petitioner maintains

          that the Board  drew the  wrong conclusions from  the factors  it

          considered.    In  this  context, petitioner  complains  that  he

          demonstrated strong familial ties to the United States, long-term

                              
          ____________________

               7Petitioner's reliance  on Arreguin  is misplaced for  other
                                          ________
          reasons as  well.  For  one thing,  Arreguin is a  section 212(c)
                                              ________
          waiver case, and  there is  no requirement that  the Board  treat
          section 245(a)  status adjustment cases  like waiver cases.   For
          another  thing,  Henry  himself  offered  the  arrest  record  as
          evidence  before  the IJ,  apparently as  part  of an  attempt to
          explain away the  incident in question.  It ill  behooves  him to
          complain on  appeal that the Board  should not have paid  heed to
          evidence  that he proffered.   See Johnson v.  INS, 971 F.2d 340,
                                         ___ _______     ___
          343 (9th  Cir. 1992) (recognizing  that the  doctrine of  invited
          error precludes  a petitioner from  challenging the admissibility
          of evidence she proffered at her deportation hearing).

                                          14














          residency here, and hardship in the event of deportation.  These,

          he  continues,  are the  very factors  the  Board has  required a

          petitioner  to  demonstrate  in  order  to  make  the showing  of

          outstanding   equities  necessary  to  overcome  strong  negative

          factors.  See Matter of Arai, 13 I &amp; N Dec. 494, 496 (BIA 1970).
                    ___ ______________

                    Petitioner's argument misapprehends  both the nature of

          status adjustment and the role of judicial review.  Adjustment of

          status  is  not an  entitlement,  but,  rather, an  extraordinary

          remedy.  The Board need not make the anodyne available to all who

          theoretically  qualify.     Indeed,  the  Attorney  General   has

          cautioned that  the Board's regimen  in Arai "does  not establish
                                                  ____

          rigid  rules which  deny  to immigration  judges the  flexibility

          necessary  to carry  out their  duty to  analyze  sensitively the

          competing factors in each particular case."  Matter of Blas, 15 I
                                                       ______________

          &amp; N  Dec. 626, 641  (Atty. Gen. 1976),  aff'd, 556 F.2d  586 (9th
                                                  _____

          Cir. 1977).  Thus, status adjustment is quintessentially a matter

          "of administrative discretion."  Arai, 13 I &amp; N Dec. at 496.
                                           ____

                    Moreover,  when a  matter is  committed by  law to  the

          Board's  sound  discretion,  a   reviewing  court  plays  a  very

          restricted role in overseeing the administrative exercise of that

          discretion.    So  long as  the  Board  follows  its own  settled

          principles and provides a  reasoned explanation for its decision,

          judicial review  is at an  end.   See Gouveia, 980  F.2d at  818;
                                            ___ _______

          Martinez, 970 F.2d at 974.
          ________

                    Of  course,  discretion  is  not to  be  confused  with

          imperiousness.  When  the Board rejects a request  for adjustment


                                          15














          of status, it must articulate its reasons for taking that action,

          and those reasons must be  plausible.  Nonetheless, the existence

          of favorable  information under each  of the three  Arai headings
                                                              ____

          does  not require the Board  to grant adjustment  of status.  See
                                                                        ___

          Blas, 15 I &amp; N Dec. at 641.   As we have written in an  analogous
          ____

          setting, "even the presence  of preponderant equities or equities

          that in the abstract could qualify  as `unusual' or `outstanding'

          does not compel the Board to grant relief."  Gouveia, 980 F.2d at
                                                       _______

          816.

                    Here, the Board offered  an adequate explanation of why

          it   believed  that  petitioner's   favorable  factors  were  not

          sufficiently  compelling to  justify adjustment  of status.   The

          Board's  decision  focused on  the  seriousness  of the  firearms

          conviction.  It observed that  both petitioner and his  companion

          were armed  at the time  of the arrest,  and that petitioner  had

          maintained a  deception by  utilizing a pseudonym  throughout the

          criminal  proceedings.   The  Board also  looked to  petitioner's

          history of altercations with  the law, particularly his tardiness

          in acknowledging his crimes in New York.  It took due note of the

          favorable factors  advanced  by  petitioner  but  determined,  on

          balance, that these points were not sufficiently robust  to yield

          the kind  of unusual  and outstanding  equitable case that  would

          warrant   an  adjustment  of   status.    In   short,  the  Board

          persuasively  explained  the premises  on  which  it declined  to

          exercise  its discretion.   That  ends the  matter.   A reviewing

          court may not reweigh the equities afresh.  See Gouveia, 980 F.2d
                                                      ___ _______


                                          16











          at 819.

                                          V
                                          V

                    We  need  go no  further.   Adjustment  of status  is a

          discretionary  remedy.   Although the  Board could  have afforded

          petitioner this remedy,  it chose not to do so.  That is both the

          Board's prerogative  and its  duty.  In  the absence of  either a

          mistake  of  law or  a palpable  abuse  of discretion,  we cannot

          substitute our judgment for that of the Board.



                    The  petition for review is  denied and dismissed.  The
                    The  petition for review is  denied and dismissed.  The
                    _________________________________________________   ___

          Board's decision and order are affirmed.
          Board's decision and order are affirmed.
          _______________________________________






































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